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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


JEFFREY WOOD                                                                    PLAINTIFF

v.                            Case No. 4:15-CV-00427-KGB

MID-SOUTH ADJUSTMENT COMPANY, INC.                                           DEFENDANTS


                                          ORDER

       Before the Court is plaintiff Jeffrey Wood’s motion to dismiss with prejudice (Dkt. No.

2). Mr. Wood states that he has resolved his differences with defendant Mid-South Adjustment

Company and that he desires for his claims against Mid-South Adjustment Company to be

dismissed with prejudice. For good cause shown, the Court dismisses with prejudice all claims

and causes of action asserted by Jeffrey Wood against Mid-South Adjustment Company.

       IT IS SO ORDERED this 28th day of August, 2015.



                                                  ____________________________________
                                                  KRISTINE G. BAKER
                                                  UNITED STATES DISTRICT JUDGE
